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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                             PLAINTIFF/RESPONDENT

 v.                                Case No. 2:12-CR-20007-004

 JESUS ORDAZ                                                          DEFENDANT/PETITIONER

                                            ORDER

        Before the Court is Defendant/Petitioner Jesus Ordaz’s motion (Doc. 102) to vacate his

 sentence under 28 U.S.C. § 2255. 1 The Court has received a report and recommendations (Doc.

 115) from United States Magistrate Judge Mark E. Ford. Ordaz has submitted objections (Doc.

 116) to the report and recommendations.

 I.     Background

        Ordaz’s motion to vacate rests on five grounds, the first four of which are ineffective

 assistance of counsel claims and the last of which alleges a litany of constitutional violations.2

 Magistrate Judge Ford’s report and recommendation recommends that the Court reject all five

 grounds, that no hearing is necessary, and that no certificate of appealability should issue.

        1
          Ordaz has separately filed a motion (Doc. 117) to reduce his sentence pursuant to
 Amendment 782 to the United States Sentencing Guidelines. That motion is not resolved by this
 order and remains pending.
        2
           Magistrate Judge Ford’s report and recommendation succinctly and accurately
 summarizes the claims in Ordaz’s motion:

        The Motion raises five grounds, four of which relate to claims of ineffective
        assistance of counsel, to wit: (1) failure to argue that U.S.S.G. § 1B1.3 limited
        Ordaz’s sentence to specific, jointly undertaken activity, instead of the activity of
        the entire charged conspiracy; (2) failure to argue that the record did not
        demonstrate that the Indictment was returned in open court; (3) failure to timely
        investigate and negotiate for a favorable plea agreement; (4) the cumulative
        impact of multiple deficiencies or errors by counsel during pre-trial, plea,
        sentencing, and on direct appeal; and, (5) that his conviction and sentence violates
        the First, Second, Fourth, Fifth, Sixth, and Eighth Amendments to the United
        States Constitution. (Doc. 115, p. 4).

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 Ordaz’s objections to the report and recommendations are that Magistrate Judge Ford erred in

 recommending dismissal on Ordaz’s first ground; in recommending that no hearing is required;

 and because the report and recommendation is inconsistent with Ordaz’s allegations and the

 evidence apparent from the record. Specific objections are necessary to focus the Court’s review

 and aid the Court in identifying any specific alleged errors. Objections are not meant to be an

 opportunity for a party to re-brief its case.

         Where the Court could construe objections that specifically addressed a finding by the

 Magistrate, the Court reviewed the record de novo as to those objections. See Belk v. Purkett, 15

 F.3d 803 (8th Cir. 1994) (while emphasizing the necessity of de novo review, indicating that lack

 of specificity may be an appropriate basis for denying de novo review in cases involving

 extensive records, which would make it difficult to focus upon any alleged errors if insufficiently

 directed by the parties); Fed. R. Civ. P. 72(b)(3) (“The district judge must determine de novo any

 part of the magistrate judge’s disposition that has been properly objected to.” (emphasis added));

 see also Goney v. Clark, 749 F.2d 5, 7 (3d Cir. 1984) (“providing a complete de novo

 determination where only a general objection to the report is offered would undermine the

 efficiency the magistrate system was meant to contribute to the judicial process”). In all other

 respects, the Magistrate’s report was reviewed for clear error. See Grinder v. Gammon, 73 F.3d

 793, 795 (8th Cir. 1996) (noting that when no objections are filed and the time for filing

 objections has expired, the district court should review findings of the magistrate for clear error).

 Having conducted such review, the Court finds that Plaintiff’s objections offer neither law nor

 fact requiring departure from the findings and recommendations of the Magistrate.

 II.     Decision of Defense Counsel Not to Object to Drug Quantity

         Ordaz’s first objection relates to the first ground he raised in support of his motion to



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 vacate. As his first ground, Ordaz asserts that he received ineffective assistance of counsel with

 respect to his sentencing because Defense Counsel could have, but did not, argue and cite

 authority 3 that United States Sentencing Guidelines 4 (“U.S.S.G.”) § 1B1.3 limited Mr. Ordaz’s

 sentence to specific, jointly undertaken activity, instead of the activity of the entire charged

 conspiracy. Magistrate Judge Ford correctly determined that the test established by the Supreme

 Court in Strickland v. Washington 5 should be applied to determine whether a convicted

 defendant had ineffective assistance applies to this claim.   Under Strickland:

                First, the defendant must show that counsel’s performance was
                deficient. This requires showing that counsel made errors so
                serious that counsel was not functioning as the “counsel”
                guaranteed the defendant by the Sixth Amendment. Second, the
                defendant must show that the deficient performance prejudiced the
                defense. This requires showing that counsel’s errors were so
                serious as to deprive the defendant of a fair trial, a trial whose
                result is reliable. Unless a defendant makes both showings, it
                cannot be said that the conviction . . . resulted from a breakdown in
                the adversary process that renders the result unreliable.

 Strickland, 466 U.S. at 687 (emphasis added). Magistrate Judge Ford then found that Ordaz

 failed to make the showing required by the first prong of the Strickland test, and so there was no

 need to reach the second prong. The Court agrees.

        Specifically, Magistrate Judge Ford found that although Defense Counsel did not object

 to the drug quantity calculation in the final presentence investigation report (“PSR”), it was the

 Government’s objection to the initial PSR that led to the calculation in the final PSR, and the

 Court addressed that objection during sentencing. Furthermore, Defense Counsel did challenge

 the quantity finding on appeal. Ordaz objects to this finding, arguing that the Magistrate Judge

 conflated Ordaz’s current claim that Defense Counsel was ineffective by failing to object at
        3
          Ordaz does not identify any authority Defense Counsel ought to have argued and cited.
        4
          The 2011 version of the Guidelines Manual was used to determine Ordaz’s Guidelines
 sentence.
        5
          466 U.S. 668, 687 (1984).

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 sentencing to the quantity calculation with a claim (which Ordaz is not making) that the quantity

 calculation was wrong. Ordaz misunderstands the Magistrate Judge’s reasoning. The Magistrate

 Judge’s analysis is limited to saying that the decision not to object to the quantity calculation at

 sentencing was not deficient representation. The Court’s de novo review of the record leads to

 the conclusion that the Magistrate Judge is correct.

        In evaluating whether Defense Counsel’s performance was deficient, the Court “must be

 highly deferential . . . [and] indulge a strong presumption that counsel’s conduct falls within the

 wide range of reasonable professional assistance.” Id. at 689. For Ordaz to succeed on his first

 ground, he must show that Defense Counsel’s failure to object to the Court’s quantity calculation

 was deficient because it was professionally unreasonable, and this showing must be made over

 the strong presumption to the contrary. In this circuit, “it cannot be considered professionally

 unreasonable for counsel to fail to object to the correct application of settled law.” Hamberg v.

 United States, 675 F.3d 1170 (8th Cir. 2012).

        Ordaz argues that in his case, “he was sentenced for the entire amount of drugs involved

 in the so-called ‘conspiracy’ without the Court making the specific findings required by U.S.S.G.

 § 1B1.3. In spite of the Court’s error, counsel made no objection to the omission.” (Doc. 106, p.

 26). 6 That is, Ordaz believes that the quantity of drugs attributed to him for establishing his base

 offense level under U.S.S.G. § 2D1.1 included some quantity of drugs that should not have been

 attributed to him because that quantity did not qualify as relevant conduct under U.S.S.G. §

 1B1.3. He asserts that the failure of Defense Counsel to raise an objection to inclusion of this

 quantity of drugs was professionally unreasonable.

        The record demonstrates that Ordaz was convicted after pleading guilty to two counts of

 distribution of methamphetamine in violation of 21 U.S.C. § 841(a)(1). (Doc. 88). In exchange
        6
            Where there is a difference, page cites are to internal, rather than CM/ECF, pagination.

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 for Ordaz’s guilty plea, the Government agreed to move for dismissal of one count charging him

 with conspiracy to distribute methamphetamine in violation of 21 U.S.C. § 846; two additional

 counts of distribution of methamphetamine in violation of 21 U.S.C. § 841(a)(1); and a forfeiture

 allegation. The initial PSR indicated that Ordaz was the source of supply for his codefendants

 and recommended a role-in-the-offense enhancement to Oradz’s sentence. The Government

 objected to the attributable quantity of drugs in the initial PSR. Defense Counsel objected to the

 role-in-the-offense enhancement. The final PSR increased Ordaz’s drug quantity in light of the

 Government’s objection and left the role-in-the-offense enhancement in place. At the sentencing

 hearing, the Court heard testimony to support its finding that Ordaz was the source of supply for

 all drugs attributable to him, and found that the role-in-the-offense enhancement was appropriate,

 overruling Ordaz’s objection. With respect to quantity, Ordaz was held accountable for 122.58

 grams of actual methamphetamine and 5.1304 kilograms of mixture or substance containing

 methamphetamine.      These quantities included amounts Ordaz distributed to confidential

 informants, as well as amounts the Court found that Ordaz distributed to his codefendants.

 Defense Counsel did not object to the amounts.

        By the time of Ordaz’s November 19, 2012 sentencing, it was settled law in this circuit

 with respect to relevant drug quantities under the Guidelines that amounts a defendant distributed

 to codefendants were properly considered relevant conduct. United States v. Maxwell, 25 F.3d

 1389, 1398 (8th Cir. 1994) (holding that quantities a defendant supplied to coconspirators were

 appropriately attributed to the defendant: “The court based its finding on the 13.65 grams of

 cocaine, which officers seized from Brown’s apartment, that Maxwell had supplied to Brown

 and the 84 grams of cocaine base and the 1085 grams of cocaine powder that Brown testified that

 Maxwell had supplied to him during the summer of 1989. Additionally, because Maxwell had



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 supplied Majied with the cocaine that he distributed, the court relied on the 429 grams of cocaine

 that Majied had supplied to Moore.”). At Ordaz’s sentencing and in the PSR, the evidence that

 supported the Court’s finding that a role-in-the-offense enhancement was appropriate was that

 Ordaz supplied his codefendants with all drug quantities attributed to him. Ordaz does not now

 object to this evidence on factual grounds, but rather on the basis that some quantity of drugs

 recovered from or dealt to his codefendants could not legally be attributed to him, and Defense

 Counsel’s failure to raise this issue was deficient performance.       Ordaz is incorrect.      His

 distribution of drugs to codefendants was his own specific, jointly undertaken activity, and those

 drugs were properly attributed to him.

        Because the drug quantities were attributed to Ordaz in line with settled law in the Eighth

 Circuit, the decision of Defense Counsel not to object to that attribution cannot be considered

 professionally unreasonable.       Because Defense Counsel’s decision was not professionally

 unreasonable, his performance was not deficient. Because his performance was not deficient,

 there is no need under Strickland to reach the issue of prejudice. 7 Accordingly, Ordaz has not

 provided a basis in law or fact to depart from the Magistrate Judge’s recommendation with

 respect to Ordaz’s first ground.

        Ordaz does not raise any specific objections to the Magistrate Judge’s recommendation

 that his motion to vacate be denied with respect to grounds two through five. Therefore, the

 Magistrate’s report and recommendation is reviewed for clear error, and the Court finds none.

 III.   Evidentiary Hearing

        Ordaz’s second objection is that the Magistrate Judge erred in recommending that no
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           The Court notes that Ordaz’s objection to the report and recommendation with respect
 to his first ground also asserts that the Magistrate Judge confused the law in failing to find
 prejudice. Prejudice is addressed under Strickland’s second prong, which neither the Magistrate
 Judge nor the Court need reach in light of Ordaz’s failure to show that Defense Counsel’s
 performance was deficient.

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 evidentiary hearing is required in this case. “[A] petition can be dismissed without a hearing if

 (1) the petitioner’s allegations, accepted as true, would not entitle the petitioner to relief, or (2)

 the allegations cannot be accepted as true because they are contradicted by the record, inherently

 incredible, or conclusions rather than statements of fact.” Engelen v. United States, 68 F.3d 238,

 240 (8th Cir. 1995).

        Paragraphs 1 through 44 of Ordaz’s motion to vacate are almost entirely conclusions,

 rather than statements of fact. (Doc. 102, pp. 8–16). Even those paragraphs that allege some

 statements of fact are tightly intertwined with conclusions.           If the Court accepts Ordaz’s

 allegations as true, it is compelled to find, just as Magistrate Judge Ford did, that Ordaz is not

 entitled to relief on his claims because he cannot satisfy the Strickland test. Accordingly, no

 hearing is necessary. Roundtree v. United States, 751 F.3d 923, 925–26 (8th Cir. 2014) (“Failure

 to establish either prong [of Strickland] would be fatal to [Plaintiff’s] claim. Thus, the district

 court was required to hold an evidentiary hearing regarding [Plaintiff’s] ineffective assistance

 claim unless the record conclusively established either that [Defense Counsel] did not perform

 deficiently or that [Plaintiff] suffered no prejudice as a result of [Defense Counsel’s] allegedly

 deficient performance.”). Ordaz provides no basis in his objection to depart from the Magistrate

 Judge’s report and recommendation on this matter, and no hearing is necessary.

 IV.    Certificate of Appealability

        The Court agrees with Magistrate Judge Ford that Ordaz has failed to make a substantial

 showing of the denial of a constitutional right, and no certificate of appealaibility should issue.

 V.     Conclusion

        After careful review, the Court concludes that the findings and recommendations should

 be, and hereby are, approved and adopted as this Court’s findings in all respects in their entirety.



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        IT IS THEREFORE ORDERED that the Report and Recommendations (Doc. 115) as to

 Ordaz’s motion to vacate is ADOPTED in its entirety.

        IT IS FURTHER ORDERED that Petitioner Jesus Ordaz’s motion (Doc. 102) to vacate is

 DENIED.

        IT IS FURTHER ORDERED that no certificate of appealability shall issue.

        IT IS SO ORDERED this 9th day of July, 2015.


                                                           /s/P. K. Holmes, III
                                                           P.K. HOLMES, III
                                                           CHIEF U.S. DISTRICT JUDGE




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